     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 1 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1                     IN THE UNITED STATES DISTRICT COURT

 2                         FOR THE DISTRICT OF NEVADA

 3     DONALD HUMES,                )
                                    )      Case No. 2:17-cv-01778-JAD-DJA
 4                 Plaintiff,       )
                                    )      Las Vegas, Nevada
 5     vs.                          )      May 28, 2021
                                    )      9:52 a.m. - 11:00 a.m.
 6     ACUITY, A MUTUAL INSURANCE   )      Courtroom 6B
       COMPANY, a foreign           )      JURY TRIAL, DAY 4
 7     corporation; DOES 1 through )       CLOSING ARGUMENTS
       10; and ROE CORPORATIONS 1   )
 8     through 10, inclusive,       )
                                    )
 9                 Defendant.       )
       _____________________________)      CERTIFIED COPY
10

11           REPORTER'S PARTIAL TRANSCRIPT OF JURY TRIAL, DAY 4
                   BEFORE THE HONORABLE JENNIFER A. DORSEY
12                    UNITED STATES DISTRICT COURT JUDGE

13

14     APPEARANCES:

15     For the Plaintiff:     CARA M. XIDIS, ESQ.
                              JUSTIN W. WILSON, ESQ.
16                            H&P LAW
                              8950 West Tropicana Avenue, Suite 1
17                            Las Vegas, Nevada 89147
                              (702) 598-4529
18

19     (Appearances continued on page 2.)

20

21     Court Reporter:       Amber M. McClane, RPR, CRR, CCR #914
                             United States District Court
22                           333 Las Vegas Boulevard South, Room 1334
                             Las Vegas, Nevada 89101
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24     Proceedings reported by machine shorthand.         Transcript
       produced by computer-aided transcription.
25

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 1
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 2 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1     APPEARANCES CONTINUED:

 2     For the Defendant:

 3           MARISSA R. TEMPLE, ESQ.
             STEPHEN H. ROGERS, ESQ.
 4           ROGERS, MASTRANGELO, CARVALHO & MITCHELL
             700 South Third Street
 5           Las Vegas, Nevada 89101
             (702) 383-3400
 6

 7     Also Present:

 8           Donald Humes, Plaintiff

 9           Larry Reub, Acuity Client Representative

10           Brian Clark, Trial Technician

11           Luis Gutierrez, Trial Technician

12

13                                   * * * * *

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                         UNITED STATES DISTRICT COURT
                       Amber McClane, RPR, CRR, CCR #914              Page 2
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 3 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1           LAS VEGAS, NEVADA; FRIDAY, MAY 28, 2021; 9:52 A.M.

 2                                     --o0o--

 3                             P R O C E E D I N G S

 4                        PLAINTIFF'S CLOSING ARGUMENTS

 5                MS. XIDIS:    The term pacta sunt servanda is Latin,

 6     which means promises should be kept.        Those were the first

 7     words I read in law school when I opened my contracts book,

 8     and they've -- they've stuck with me.         Whether it's drivers on

 9     the roadway with a license who promise to drive carefully,

10     whether it's a doctor who promises to do no harm, or an

11     insurance company that we pay money to for the promise to

12     protect us, to help us when we need it, but we don't know --

13     but we don't need to go to law school to learn that promises

14     should be kept.     Generally that's something we know by the

15     time we leave kindergarten.

16                Now, you have sat through hours and hours of

17     testimony about the crash, Don's injuries, and the

18     nitty-gritty of the medicine involved, but it's important to

19     take a step back and remember why we are here, what this case

20     is ultimately about.

21                Don entered into a contract with Acuity for

22     automobile coverage.      In addition to the basic liability

23     coverage, he purchased extra coverage in the form of

24     underinsured motorist coverage with the express purpose of

25     protecting himself and his family.        Don faithfully paid his

                         UNITED STATES DISTRICT COURT
                       Amber McClane, RPR, CRR, CCR #914              Page 3
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 4 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1     premiums, and Acuity happily took those payments.           But when

 2     Don was injured and called on Acuity to fulfill its promise

 3     and protect him, it turned its back on Don telling him he

 4     couldn't possibly be as injured as he claims and Mr. Petty had

 5     sufficient insurance to compensate him.

 6                We are here because Acuity has not paid Don a cent of

 7     his underinsured motorist benefits.        We are here because, as

 8     you have heard over and over, Acuity doesn't believe Don

 9     should have treated with the doctors he did.          We are here

10     because Acuity doesn't think Don's doctors had good enough

11     reasons for recommending the treatment.         We are here because

12     Acuity doesn't think Don got enough benefit from the medical

13     procedures to justify them paying for any of it.          This is your

14     opportunity as a jury, as the voice of our community, to send

15     a message to Acuity that, when it makes the promise of

16     protection to Don, it must honor that promise.

17                At the beginning of this trial, I presented you with

18     a checklist that, if followed, would have prevented Acuity's

19     breach of contract.

20                The first step was to confirm coverage.        And as I

21     told you, that happened.      And as the judge has just instructed

22     you, everyone agrees that the policy was in effect at the time

23     of the crash, and everyone agrees Don's underinsured motorist

24     coverage applies.     But let's a take minute and look at the

25     coverage itself, at the contract itself.

                         UNITED STATES DISTRICT COURT
                       Amber McClane, RPR, CRR, CCR #914              Page 4
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 5 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1                Sorry, my mouse stopped working.       There we go.

 2                Acuity promises we will pay all sums the insured is

 3     legally entitled to recover as compensatory damages for the

 4     owner or driver of an underinsured motor vehicle.

 5                And let's break this down a bit.       So we have:       We

 6     will pay -- Acuity promises to pay -- all sums -- not just

 7     some of it or, in this case, none of it -- the insured -- that

 8     is Don Humes -- legally entitled to recover as compensatory

 9     damages -- means the damages the at-fault driver -- in this

10     case, that was Mr. Petty -- the damages he caused Don,

11     including the specific things set forth in the jury

12     instructions the judge just read to you.         Mr. Humes' past and

13     future medical expenses.      His past and future disability and

14     impairment.     His past and future pain and suffering, mental

15     anguish, and loss of capacity to enjoy life.

16                The contract does have a couple of conditions,

17     however.     For example, the policy states:      We will pay only

18     after liability bonds or policies have been exhausted by

19     payment of judgments or settlements.        In other words, Acuity

20     won't pay until after Mr. Petty's insurance does, and

21     Mr. Petty's insurance paid in January of 2015, more than six

22     years ago.     Don took that money and paid what bills he could.

23     And as of January 30th, 2015, all of the conditions necessary

24     to obtain payment of Don's underinsured motorist benefits were

25     satisfied.

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 5
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 6 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1                 Which brings us to the next step:      Gather records and

 2     bills.     Now, this is admittedly a little broader than records

 3     and bills.     This encompasses the gathering of the information

 4     needed to evaluate the claim to determine what you owe.             And

 5     you heard from Don that he provided Acuity with everything

 6     they needed to evaluate his claims.        You heard from Acuity's

 7     hired doctor during this trial that he had all of Don's

 8     medical records and bills, thousands of pages provided to him

 9     by Acuity.     And you did not hear from a single person from

10     Acuity, not even Mr. Reub sitting right here during the entire

11     trial, that Acuity was missing any information it needed.

12                 Further, the policy requires that Don do certain

13     things that Acuity asks.      For example, Acuity could have asked

14     Don to submit to a medical examination with a physician of its

15     choice, like Dr. Schifini, but it did not.         Acuity simply

16     gathered and reviewed documents.        Until Don filed this lawsuit

17     for breach of contract seeking your help to get Acuity to

18     honor the contract and pay what it owes, then and only then

19     did Acuity hire Dr. Schifini and ask Don questions under oath

20     in an effort to rationalize its denial after the fact.

21                 The final step in the checklist is to pay what you

22     owe.     Here, Acuity decided that Don had been fully compensated

23     by Mr. Petty's insurance policy, a policy that did not even

24     cover his medical expenses, and refused to pay him any of the

25     protection he had in the event he was in a crash with an

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914             Page 6
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 7 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1     underinsured motorist, like he was on April 6th, 2013.

 2                Now, during its opening statement on Monday, Acuity,

 3     for the very first time, acknowledged Don had not been fully

 4     compensated by Mr. Petty's insurance and was owed money under

 5     the policy.     For the very first time in eight years.        Ladies

 6     and gentlemen, they admitted they should have paid him at

 7     least some of his underinsured motorist benefits.           They

 8     admitted they breached the contract.

 9                MS. TEMPLE:    Objection, Your Honor.      That's complete

10     fabrication, and that's not -- can we approach?

11                MS. XIDIS:    I'm happy to go back and look at the

12     transcript.

13                THE COURT:    Okay.   So here's what we're going to do.

14     We're just going to disregard that last statement.           We're

15     going to stick to the evidence, not the arguments.

16                MS. XIDIS:    Sure.   I'm happy to do that.

17                Now, ladies and gentlemen, this case is quite simple.

18     Don was injured in a crash with an underinsured motorist,

19     Mr. Petty.     Those injuries cause him pain.      His medical

20     providers recommended treatment.        He followed those

21     recommendations and got the treatment.         Eventually they found

22     treatment that provided relief, albeit temporary and certainly

23     not a cure.     This treatment the pain always comes back.           The

24     question is:     How much relief does it give him and for how

25     long?

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914             Page 7
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 8 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1                All of the doctors who have met with Don, examined

 2     him, and treated him, who have seen him in person and had

 3     their hands on him agree that his injuries were caused by the

 4     crash and are going to be with him for the rest of his life.

 5     His options are limited.      He can suck it up and live with it

 6     or undergo painful procedures for some temporary relief.

 7     They're not great options, but it's what he has.

 8                Even the hired expert, Dr. Schifini, acknowledged

 9     during his testimony that Don has chronic pain.          He agreed

10     that the crash could cause injuries and acknowledged that Don

11     was injured in the crash.       He agreed that it was reasonable

12     for Don to follow the advice of his doctors, and he agreed

13     that Don's doctors were reasonable in their examinations and

14     were simply trying to help Don address his pain.

15                That said, you sat through this trial, and you heard

16     the defense dive into the nitty-gritty of the medicine.             While

17     unnecessary, we're happy to dive in and discuss the details of

18     his care as well.     But let's start with all of the red

19     herrings we've encountered this week.

20                Now, the expression "red herring" comes from farmers

21     in Britain that would rub these smoked and salted, really

22     stinky fish around their property to ward off foxes and

23     protect their animals.      And the purpose of this was to throw

24     the foxes off the scent, throw them off the trail, distract

25     them.   And this trial has been full of red herring, and it's a

                         UNITED STATES DISTRICT COURT
                       Amber McClane, RPR, CRR, CCR #914              Page 8
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 9 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1     good thing we have our masks.       Let's go through them.

 2                First we have Don's prior medical history:         Gout,

 3     stroke, diabetes.      They went through this with so many

 4     different people asking about the effects of these things on

 5     Don.    One thing you never heard was that any of these things

 6     have anything to do with neck or back pain or any of the

 7     injuries that Don claimed.       Why are we wasting our time?

 8     Distractions.

 9                The CPAP.    You heard from Don that he's not asking

10     Acuity to cover that.      Why spend so much time talking about

11     something that's unrelated?       Don acknowledges that he thought

12     maybe it was related.      He'd never had it before, but he

13     deferred to his doctors.      He's not asking Acuity to pay for

14     that.

15                Age.    You heard from every single medical provider

16     about degenerative changes, and -- and each of them

17     acknowledged that every -- every adult practically, at least

18     those over 30, 40 years old, have degenerative changes in

19     their spine.      And every single one of them acknowledged that

20     just because you have degenerative changes doesn't mean you

21     have pain, that there is not a correlation between the two.

22                There's no evidence that Don was in pain in the year

23     before the crash.      He hadn't had any neck pain in over -- in

24     decades.    And his low back pain, he had one incident that

25     lasted two weeks -- yes, two weeks, not months -- and it

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914            Page 9
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 10 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      resolved completely.     When Dr. Leon and Dr. Anderson were

 2      asked about that treatment, they said it wouldn't have changed

 3      their course of treatment at all.       They weren't even concerned

 4      about it at the point that it had resolved and never come

 5      back, it wasn't -- it was a non-issue for them.

 6                 And think about Dr. Schifini's testimony on that as

 7      well.    He never once said that that 2011 treatment for low

 8      back pain had anything to do with what Don's going through

 9      now.    Distractions.

10                 There's the travel and the gaps in treatment, and I

11      anticipate that you're going to hear a lot about this soon.

12      Don is a businessman.     He is a -- was a full-time RVer.          He

13      traveled around the country.       He spent his winters in warmer

14      climes, whether that was Florida, sometimes Texas, Arizona.

15      That was part of his life, and he treated where he was.

16      Sometimes he was able to get appointments quickly; sometimes

17      he wasn't.    Sometimes he was here in Nevada on other business,

18      visiting his lawyers about this case.        While he was here, he

19      got treatment.

20                 No doctor will tell you that any delays between

21      appointments made his injuries worse.        The only consequence of

22      not seeing doctors more often is that he was in pain, and

23      that's a choice that Don had to make based on the priorities

24      in his life at the time.      Sometimes life events just get in

25      the way, and despite your best efforts, you don't make that

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 10
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 11 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      doctor appointment or it gets rescheduled or you call and the

 2      next appointment that's available you're not going to be

 3      around.     The travel and the gaps in treatment have nothing to

 4      do with his injuries.

 5                  The crash speed.   You heard about this with

 6      Dr. Schifini, about how sometimes it was reported at 20 to

 7      25 miles an hour, sometimes 30.        Everyone agrees this was a

 8      big crash.     You saw the pictures.     There's no question.       And

 9      if it was a 20-mile an hour crash, can it cause injury?             Yeah,

10      Dr. Schifini said it absolutely could.        If it's higher than

11      that, can it cause injury?      Yes, Dr. Schifini said it

12      absolutely could.     It doesn't matter.     Distractions.

13                  Loss of consciousness is the same thing.       Don

14      testified yesterday that -- that he -- he believed he lost

15      consciousness, he was in and out.        The records reflect that he

16      says he lost consciousness, and other times he said he's not

17      sure.     The fact of the matter is it doesn't go to any of his

18      neck or back problems that he's currently experiencing, the

19      treatment that he's asking Acuity to pay for.

20                  Now, he did see a neuropsychologist, Dr. Gardiner,

21      and Dr. Gardiner evaluated his cognizant deficits that his

22      friends had -- had notified him about.        But Dr. Gardiner did

23      relate that to an acute brain injury that loss of

24      consciousness would be related to.        He related that to the

25      chronic pain that Don was in, and I invite you to look at

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914               Page 11
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 12 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      those records from Scovel.

 2                You heard about how Dr. Leon and Dr. Anderson both

 3      were treating Don on a lien, and a lien is a way that a doctor

 4      can provide patient -- provide treatment to patients who a lot

 5      of times, when they're involved in personal injury cases, the

 6      resolution of that claim is -- is years out and -- but they

 7      want to make sure that those patients have treatment, as

 8      Dr. Leon testified.     But the fact of the matter is both of

 9      those doctors were paid back in 2015 when Don received the --

10      the settlement money from Mr. Petty.        Neither of them are

11      waiting for payment.     Neither of them feel like their payment

12      is contingent on your decision here.        Defendant's suggestion

13      that they might be biased, it's unfounded.

14                There was also a lot of discussion about attorneys

15      and relationships in the case, the fact that Don knew

16      Dr. Crisman, that they were Masons together.         So what?       You

17      really think more likely than not that Dr. Crisman changed the

18      way he treated a patient because he knew him?         No.   You heard

19      about one phone call between Dr. Anderson and my office.

20      Dr. Anderson testified that it's normal for him to talk to

21      attorneys.     He provides updates on the -- on the treatment of

22      the patient.     Does he allow the attorney to dictate that

23      treatment?     Of course not.

24                The neck surgery.     This happened more than 20 years

25      ago.   He woke up one day, had arm pain, had surgery,

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914              Page 12
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 13 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      completely went away.       Dr. Leon told you that that's

 2      suggestive of a disk injury, not something we're dealing with

 3      as a result of this crash.       No doctor, not Dr. Leon, not

 4      Dr. Anderson, and certainly not Dr. Schifini, has made any

 5      indication that Don's current problems are in any way related

 6      to that neck surgery.       It's simply part of his past, something

 7      he had and recovered from.       Why are we spending so much time

 8      on it?    Distractions.

 9                 And then we already talked about the 2011

10      chiropractic treatment.

11                 Now, the judge has instructed you on the burden of

12      proof in this case:       The preponderance of the evidence.        What

13      that means is simply this:       Don has the burden of proving that

14      he was injured as a result of the crash.         And imagine a scale,

15      and it's perfectly balanced.       And you put a feather on one

16      side.    That's the preponderance of the evidence.        It's just a

17      question of what is more likely than not, even by just a

18      little bit.

19                 You can apply this analysis to all of the questions

20      in this case.    What is more likely, that Don was injured and

21      has been trying to resolve his pain or that he unnecessarily

22      subjects himself to procedures involving needles heated to

23      80 degrees Celsius -- that's 176 degrees Fahrenheit -- just so

24      he can get policy benefits that he already paid a premium for?

25      What's more likely than not?

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 13
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 14 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1                 So what is left?    Acuity's argument that Don didn't

 2      have any improvement from any of these procedures?          That's

 3      simply not supported by the medical records.         Acuity showed

 4      you a whopping two medical records reporting a lack of

 5      benefit.    Each one was discussed by Dr. Leon and Dr. Anderson.

 6      The first, a physical therapy record from September 19th,

 7      2013.   And as the doctors both explained, this reporting was

 8      to be expected.     The injection was a mere six days earlier,

 9      and the anti-inflammatory effect of the medication hadn't even

10      kicked in yet.     It was way too early to expect improvement.

11      Now, this record in no way suggests that the injection was not

12      successful.

13                 The second is a physical therapy record from

14      June 5th, 2014.     Now, when defense counsel put this record in

15      front of Dr. Anderson which shows Don said he had more pain

16      three weeks after the ablation, the nerve burning,

17      Dr. Anderson pointed out the difference between an injection

18      and an ablation.     He testified that it is very common for that

19      procedure to result in increased pain before it provides

20      actual pain relief.     It gets worse before it gets better.         In

21      fact, Dr. Anderson told us that it can take up to eight weeks

22      for that to kick in.     He specifically said that he had

23      recently changed when he asked for that pain reporting about

24      improvement because, when he asked most of his patients at six

25      weeks, past this date, they did not report very much relief at

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 14
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 15 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      all.   But when he waited until eight weeks, many of them

 2      reported much, much higher levels of improvement.          Again, this

 3      record in no way suggests that the ablation, the nerve

 4      burning, was not successful.

 5                  The only other thing that Acuity's doctor has relied

 6      on to establish a lack of improvement is Don's deposition

 7      testimony taken on May 2nd, 2018, five years after the crash.

 8      He ignores all of the medical records reflecting the

 9      improvement that Don obtained following the procedures;

10      records that he was provided by Acuity and testified that he

11      has reviewed; records that reflect Don's reporting close in

12      time to the procedures they reference; and he ignores the fact

13      that Don did report relief in his deposition.         He just didn't

14      report as much relief as Acuity wanted.

15                  Which is more likely to be the most accurate, the

16      reports Don gave his doctors contemporaneously with the

17      procedures, or his recollection five years later?          Everyone

18      agrees -- except Dr. Schifini, of course -- that the nerve

19      burning procedures are incredibly painful.         Dr. Anderson said

20      he hates to perform them because he doesn't like to put his

21      patients through that.      No reasonable person would willingly

22      subject themselves to those procedures unless they are

23      obtaining benefit.

24                  This is really a simple concept.      It is cost-benefit

25      analysis.     If the benefit was not greater than the cost, no

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 15
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 16 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      one would ever do it.     And this is something that Don will

 2      need for the rest of his life.

 3                  In order to obtain that medical treatment, Don needs

 4      your help enforcing his contract with Acuity.         They promised

 5      to protect him by compensating him for the damages he

 6      sustained when injured by the negligence of an underinsured

 7      motorist.     That's exactly why he bought this coverage, to

 8      protect himself and his family in the event that someone else

 9      didn't have enough insurance to protect him.         But when he made

10      a claim, they abandoned him, telling him that his injuries

11      weren't severe, that he chose the wrong doctors, that he

12      treated in the wrong states, that he has already been

13      compensated.     What right does Acuity have to direct his care?

14                  Don's a traveler.   He's here in Nevada sometimes.

15      He's here in -- he's in Florida sometimes.         He's in South

16      Dakota sometimes.     The majority of his treatment was in

17      South Dakota.     If he moves to California, does he have to go

18      back to South Dakota for treatment?        If he moves to New York,

19      does he have to go back to South Dakota for treatment?              No.

20                  Acuity could have written a provision into the policy

21      limiting, saying I will only pay for treatment in

22      South Dakota.     They didn't do that.     There is no such

23      provision in the contract, yet Acuity wants to limit Don.

24      They tell you that him going and treating with Dr. Leon while

25      he's in Las Vegas already is unreasonable.         Don's not asking

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 16
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 17 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      Acuity to pay for the airfare.       He's already here.     He made an

 2      appointment.

 3                 So let's talk about what Acuity promised to pay Don.

 4      Let's talk about the numbers.       I showed you this jury

 5      instruction earlier.     It tells you what Don is entitled to

 6      recover, and it is reflected on the verdict form.          These are

 7      his past medical expenses totaling $160,000 -- $160,397.03.

 8      And you'll have this back when you're doing your deliberations

 9      as well.    It's Exhibit 31.

10                 This is a copy of the verdict form that you'll

11      receive.    You will work together to come to a fair and just

12      verdict, a verdict that fully compensates Don for the damages

13      he suffered as a result of the crash from April 6th, 2013, to

14      the present and continuing into the future.

15                 Now, you've heard that Mr. Petty's insurance carrier

16      paid out its policy limit to Don as a result of the crash.

17      Your job, as the jury, is to determine the total value of

18      Don's -- of the damages Don suffered as a result of the crash.

19      As the Court has instructed, you must not consider Don's

20      settlement with Mr. Petty.      And based on the evidence you were

21      presented, the medical records and bills, the testimony of his

22      friends and family, the testimony of the doctors who treated

23      him, I would suggest the following as a starting point for

24      your discussions.

25                 Don has past medical expenses of $160,397.03, as I

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 17
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 18 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      showed you.    That number should go here (indicating) on that

 2      top line, the value of past necessary medical care, treatment,

 3      and services rendered.      In other words, past medical expenses.

 4                Now, Acuity has complained that some of the bills are

 5      higher than they would expect.       The fact of the matter is that

 6      Don owes them regardless.      And as Dr. Leon testified, while on

 7      the higher end of charges, they are still within the range of

 8      reasonable and customary charges.       Don's injuries have not

 9      resolved, and his doctors have testified that he will live

10      with pain for the rest of his life.

11                Now, this treatment is estimated to cost $27,200.58 a

12      year, and this covers the treatment that he's receiving

13      routinely to his neck, mid back, and low back; the nerve

14      burning in his neck and injections in his mid back and low

15      back.

16                Dr. Leon -- now, in my opening I stated that Don had

17      a life expectancy of 16 years.       Dr. Leon testified, based on

18      his analysis, that Don's life expectancy was actually 21

19      years, and I would defer to his expertise.         But because I told

20      you 16 years, I'm going to tell you what that number is as

21      well.   I'm going to give you a range.       I would suggest that

22      the value of Don's future medical expenses is between

23      $435,209.28 and $571,212.18.

24                THE COURT:    Ms. Xidis, this is the 25-minute alert

25      that you've requested.

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 18
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 19 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1                 MS. XIDIS:   Thank you, Your Honor.

 2                 You've heard from Don.     You've heard from his

 3      doctors.    You know a little about his medical history.            You

 4      can decide whether you want to consider that 16 years that

 5      he's expected to live or the 21 that Dr. Leon believes he's

 6      expected to live based on his expertise and analysis.

 7                 Now, Don is not just entitled to medical bills,

 8      whether past or future.      Mr. Petty is legally responsible to

 9      Don for all the damages that he owes.        And Acuity, in

10      providing underinsured motorist coverage, agrees to pay

11      anything above that that Mr. Petty didn't cover, that his

12      policy didn't cover.     That includes pain and suffering, mental

13      anguish, loss of capacity to enjoy life, disability, and

14      impairment.    And you've heard a lot about how Don was

15      affected; a little bit from Don but mostly through his friends

16      and family, the people he works with, who see him regularly

17      and have -- have a glimpse into his life.         You've also heard

18      from his medical doctors.

19                 Based on that testimony and what you've heard, I

20      would suggest that, while it's difficult to place a value on

21      things like that -- you don't have a bill saying this is how

22      much your pain and suffering was -- you have to consider the

23      impact on his life.     But I would suggest as a value at least

24      the cost of his medical bills.       For past pain and suffering, I

25      would suggest $160,397.03.      And for future pain and suffering,

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 19
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 20 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      mental anguish, loss of capacity to enjoy life, disability,

 2      and impairment I would also suggest the amount of the medical

 3      bills, the future -- the anticipated future medical expenses,

 4      the $435,209.28.

 5                Now, again, there is no need to consider the

 6      settlement with Mr. Petty.      In fact, you have instructed --

 7      been instructed that you must not consider it.          You do not

 8      need to make any reductions.       Your job is to determine the

 9      full value, 100 percent of Don's damages.         This is important.

10      Don is only asking for the benefit of his bargain, the

11      protection he paid for.      Thank you.

12                May I ask how much time I used?

13                THE COURT:    You used 28.

14                MS. XIDIS:    Thank you.

15                MS. TEMPLE:    Ready for me?

16                THE COURT:    I'm ready.

17                MS. TEMPLE:    Thank you, Your Honor.

18                         DEFENSE'S CLOSING ARGUMENTS

19                MS. TEMPLE:    We are here to pay what we owe,

20      everything that Mr. Humes is entitled to under the policy that

21      he purchased with Acuity Insurance, and that's why we're here.

22                What's interesting is the policy of insurance and the

23      law, they're very similar; almost the same.         It's not like a

24      life insurance policy.      With a life insurance policy, you

25      purchase a policy, and when you pass away, the beneficiaries

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 20
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 21 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      of that policy get that entire amount.        With a car insurance

 2      policy, you have to prove that the damages that you're

 3      claiming and the money that you're seeking is what's actually

 4      owed, just like you have to prove under the law.          And what

 5      does that mean?     That means that you have to prove that the

 6      injuries that you sustain, that you sustained them from the

 7      accident.     You have to prove that all of this treatment that

 8      you had was necessary because of that accident.          And then you

 9      have to prove that all those medical bills for the treatment

10      that you had were reasonable.

11                  You're going to be guided to your -- in your

12      evaluation of this claim.      You've heard Dr. Schifini testify,

13      and Dr. Schifini told you how he evaluates a claim.          He said

14      sometimes I get the opportunity to see a patient or a claimant

15      and I get to examine them, and sometimes I get the opportunity

16      to review all of their medical records and bills.          And you

17      heard in this case that he was the only expert that had the

18      opportunity to review everything.       He reviewed all of the

19      medical records.     He reviewed the deposition transcripts, the

20      testimony under oath in this case of Mr. Humes, of his

21      doctors, Bruce Crisman, Trevor Anderson, and Dr. Leon, and he

22      also was the only one with the benefit of knowing what

23      treatment Mr. Humes had before this accident, what complaints

24      of pain he had before this accident.

25                  As a juror, you're going to get that same opportunity

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 21
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 22 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      that Dr. Schifini did in this case.        You're going to get an

 2      instruction that shows you how to evaluate the claim, and

 3      that's Instruction Number 6.       It will walk you through all of

 4      the elements that you have to show.

 5                  And Ms. Xidis talked about this.      In order to reach

 6      damages and determine that there's damages, you have to

 7      determine that there's a disability or impairment, that

 8      there's pain and suffering, that there's reasonable, necessary

 9      medical care, and that all of that was the result of injuries

10      sustained in this accident.

11                  You'll be guided further by Jury Instruction

12      Number 3.     You heard the judge read it to you.       We've talked

13      about it.     We talked about it at the outset of the litigation,

14      and we're talking about it again now.        It's the burden of

15      proof, and the plaintiff has to prove it.         The defense doesn't

16      have to disprove it.     After plaintiff rested his case,

17      recognizing that he didn't meet his burden, we could have

18      rested ours without presenting one bit of evidence, but we

19      presented Dr. Schifini to further show you the evidence

20      through the defense.

21                  It's important to know here that the law recognizes

22      that quantity does not equal quality.        Overemphasis -- and

23      there were a number of people that came in from Mr. Humes'

24      family to talk about these claims of injury.         Overemphasis on

25      the personal to the exclusion of the medical evidence really

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 22
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 23 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      reflects an acknowledgment that the medicine just doesn't

 2      support the claims here.

 3                And if you're left, like I told you during the

 4      opening statement, with more questions than answers, then

 5      you're in the same position Acuity's in and the same position

 6      they've been in for years, and it's proof that the burden has

 7      not been met.

 8                Sorry.

 9                And that's the burden of proof instruction:          A party

10      has the burden of proving any claim or defense by a

11      preponderance of the evidence.       It means that you must be

12      persuaded by the evidence that the claim or defense is more

13      probably true than not true.       You have to base it on all the

14      evidence, regardless of which party presented it.

15                You've heard from Dr. Schifini, and he told you there

16      is no traumatic spine injury in this case.         How do we know

17      that?   How does he know that?      Well, he showed you the medical

18      x-rays and the MRIs in this case.       He painstakingly went

19      through every one.     He was the only expert that did that, and

20      he told you there's just no evidence of a traumatic injury.

21      And he showed you where you would see one, how you could see

22      one, and why you don't.      Interestingly, Dr. Leon never

23      reviewed those x-rays when he came to the conclusion that all

24      of the injuries that were sustained in this accident were the

25      result of this accident, all the injuries that were being

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 23
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 24 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      complained of.

 2                Then there were injections.       And he told you those

 3      were non-diagnostic, and I'll tell you more during the closing

 4      how we know that they were non-diagnostic.         The treatment was

 5      inconsistent with large gaps, and that wasn't just that

 6      19-month gap we're talking about.       I'll show you in a minute

 7      there were gaps from the outset, large gaps in the medical

 8      treatment.

 9                And then there's the conduct, and Dr. Schifini talked

10      about this.    We questioned plaintiff and his experts about

11      this.   The conduct is inconsistent.       When you can take these

12      long breaks in treatment, when you have all of this travel

13      that you're taking but you're not receiving medical care or

14      taking any pain medication.      If you have a traumatic spinal

15      injury, if you're in debilitating pain, if you're rendered

16      severely disabled, it's inconsistent that you would be able to

17      travel the way he did, not treat the way Mr. Humes did.

18                And this is the calendar, and I really think that

19      this helps kind of put it into perspective.         And what this

20      shows is all of the treatment that Mr. Humes had up until that

21      October 2014 gap.     You will notice that in the first month,

22      after this injury that he claims was severely debilitating, he

23      had five treatments.     Even despite his physical therapist

24      saying you need treatment several times a week, he didn't have

25      that treatment.

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 24
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 25 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1                  July 2013, several months after the accident, just

 2      one time he saw a doctor while not taking any pain medication.

 3      October and November of 2013, just one visit to the doctor in

 4      those two months.

 5                  January through May of 2014, a total of five visits

 6      during that time, one time a month he saw a doctor.          And then

 7      we know after October 6th, 2014, for 19 months there was no

 8      medical care.

 9                  And I know you've heard a lot about this 19-month

10      gap.   It's really important in this case.        But I want to put

11      it more into perspective as far as timing.         Nineteen months is

12      82 weeks.     That's 577 days.   If we go back from now, 19

13      months, that's October 2019.       Nineteen months ago none of us

14      had ever heard about COVID.      That's how long Mr. Humes went

15      without any medical treatment before coming back to Acuity and

16      saying, all of this treatment I'm going to have for the rest

17      of my life starting now after that year and seven months of

18      nothing is related to that accident, and you need to pay for

19      it.

20                  We talk about explanations during the course of this

21      trial for that 19-month gap, and here's the truth behind that.

22      This is the honesty behind it.       Mr. Humes knew, when he came

23      to court, he had to explain that 19-month gap.          We knew that.

24      Because if you are to believe that this treatment that he

25      needs for the rest of his life is because of that accident in

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 25
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 26 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      2013, you have to have some kind of explanation as to why for

 2      almost two years he could go without medical care, and the

 3      first explanation was a denial.       That's a denial that I got

 4      when I took his deposition in September 2018.

 5          "Q    The requested meeting with the attorney and that

 6          occasion that you were going to go down south for the

 7          winter occurred on October 6th, 2014, according to the

 8          record we have.      From October 6th, 2014, to May 5th,

 9          2016 -- so about a year and a half -- we have no records

10          of any medical treatment.       Is that your recollection, that

11          no medical treatment was undergone between October 2014

12          until May 2016?

13          "A    Well, I don't have exact dates.        I would suspect that

14          your records are incomplete.

15          "Q    Okay.     Is it your recollection that you never went a

16          year and a half without undergoing any medical care?

17          "A    I do not recall that at all.       This has been an

18          ongoing and constant thing."

19                Later on in the deposition...

20          "Q    I know that you said you recall getting treatment and

21          not having a year and a half gap between 2014 and 2016.

22          As you sit here today, do you have any recollection as to

23          what treatment you underwent during that time?

24          "A    Just as needed, as necessary."

25                That deposition lasted several hours.         That was

                            UNITED STATES DISTRICT COURT
                          Amber McClane, RPR, CRR, CCR #914            Page 26
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 27 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      Mr. Humes' opportunity to tell me everything about his claim,

 2      anything that stood in the way of getting treatment.           Never,

 3      during that several-hour deposition, was anything mentioned

 4      about the information he provided in court, about these

 5      life-altering events that prohibited him and prevented him

 6      from receiving medical care.

 7                Next we had the testimony of Ms. Humes during trial.

 8      Ms. Humes testified from her Mexico trip.         She told you that

 9      the day before her testimony she had been contacted by the

10      attorney and asked to figure out what happened during that

11      gap, why was there a gap.      And she testified for the first

12      time listing off all of the reasons.        And this was the first

13      time, after conducting all these years of discovery, that we'd

14      ever heard any of them, and I am certain that you could sense

15      my frustration during that cross-examination.

16                We have rules in Nevada, the discovery rules.             It

17      requires production of information, production of documents,

18      disclosure of information.      We don't have trial where you show

19      up -- you get all that information during what's called

20      discovery.    That's where you learn about the claims.         That's

21      where you learn about the information.        So it was -- it's hard

22      to express how disorienting it is to come and hear brand-new

23      information for the first time eight years after the accident

24      and many years after that gap in treatment.

25                And Donald Humes testified as well, and you heard his

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 27
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 28 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      testimony.    He was -- he was very emotional about that

 2      two-year period in his life when he claims he couldn't have

 3      medical treatment because of these issues that arose.           And he

 4      described those 18 months in great detail.         He described them

 5      as the most unforgettable of his life.        But he had forgotten

 6      to tell me about them ever, and he had forgotten to tell any

 7      of his doctors.     That was the first time in eight years he'd

 8      ever mentioned it.

 9                And interestingly, we took the statement of -- or we

10      heard the testimony of Charles Humes, his son, and you'll

11      recall that one of the reasons that Mr. Humes and his wife

12      gave as hurdles to him getting medical treatment during that

13      two years is that he had a -- he had cancer.         But you heard

14      Charles testify, when I asked about how that cancer affected

15      him and his work and his life and he said, it was just this

16      dot on his ear and he got it removed and he was back at work

17      the next day.

18                And then we have Dr. Leon's version.        Dr. Leon said

19      all that treatment that I recommended, that really expensive

20      medical treatment, it worked.       It worked and that's why for 19

21      months Mr. Humes didn't have to have any medical treatment.

22      He was better.     But that's not the testimony in this case from

23      Mr. Humes.    He says he's continued to suffer pain.        And you

24      heard Dr. Schifini testify that he reviewed the records and

25      saw over and over in the medical records the notations that

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 28
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 29 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      these injections weren't working.

 2                  And you heard Dr. Schifini say that he read the

 3      deposition of Mr. Humes where Mr. Humes said none of these

 4      work.     At best they gave me 30 percent relief, and for the

 5      longest period of time it was maybe a month.         So Dr. Leon's

 6      suggestion that this 19-month period where there was no

 7      treatment is because of pain relief, it's just not supported

 8      by the record.     It's not even supported by Mr. Humes' own

 9      testimony.

10                  And the unreliability -- let me say this first.

11      Before I go into the other unreliable issues in this case, I

12      want to talk about what happened during that gap, that 2014 to

13      2016 period, because I think -- I think it's important.             I

14      don't think it's a red herring.       It's important for you to

15      understand that he continued to travel thousands and thousands

16      and thousands of miles back and forth from Florida, that he

17      didn't have any pain medication, but right at the time that

18      that gap began, that 19-month gap, he received the settlement

19      from the other driver.      And once he received the settlement

20      from the other driver, he stopped treating for 19 months.

21                  You've heard the doctors and the witnesses talk about

22      it.     Dr. Schifini said, look, there's no medical or

23      commonsense explanation for this.       If somebody is

24      traumatically injured in an accident, they cannot possibly go

25      19 months without medical care.       Dr. Anderson didn't have an

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 29
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 30 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      explanation either.     And when Mr. Humes was asked, he never

 2      disclosed a reason.

 3                The unreliability doesn't end there.        We talked about

 4      the past medical history, and here's why it's important.

 5      Regardless if it was two weeks or a month and a half, like

 6      Mr. Humes testified, the way that we found out about that

 7      medical care was not through disclosure by Mr. Humes.             He was

 8      asked five or six times during his deposition whether he had

 9      prior medical treatment, and the question started out

10      generally:    Did you have any back pain?      Did you have any neck

11      pain?   And they got more specific:       Did you have any treatment

12      at Alternative Health Care with Dr. Crisman?         Did you have any

13      chiropractic care within five years of this accident?             And he

14      responded that he didn't.      But there was an errant entry in

15      one of the medical records, and that entry said 2011.             There

16      was no context to it whatsoever.       In fact, I wasn't even

17      100 percent sure I was reading it correctly.

18                And so just like you heard Mr. Humes testify on the

19      stand when Ms. Xidis tried to refresh his recollection about

20      seeing this document at his deposition, the document said 2011

21      and I said, Mr. Humes, I've got this one page that says 2011.

22      You're telling me that you didn't have any issues before this

23      accident, you were in perfect health, never had any neck or

24      back pain besides that fusion many years prior?          And he said,

25      oh, you're right, you're right, I did, I forgot.          I had

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 30
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 31 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      treatment with Dr. Crisman in 2011.        And he said, but it's not

 2      for the same thing.     I said, well, Mr. Humes, can you direct

 3      your attention down to the bottom, where it says low back

 4      issues, would you agree with me that that's what you're

 5      claiming in this case?      And he said, well, it's different.

 6                 So I hopped on a plane and I flew to South Dakota,

 7      and I talked to Dr. Crisman myself.        And that's where a lot of

 8      the information that you heard me questioning him about and

 9      that you heard Dr. Schifini talk about came from.          Those

10      records are very scarce.      They're handwritten, hard to read.

11      But Mr. Crisman was open with that testimony, and you heard us

12      talking about it.     There was acupuncture recommendations.

13      There were special orthotic fittings.        There were x-rays.

14      There were manipulations.      This treatment was not just, hey,

15      how you doing, I'm all better.       And he denied it, and I had to

16      go to South Dakota to find it.

17                 There's also inconsistencies throughout the medical

18      records.    Your role in this case is the same role as Acuity

19      has.   Okay?   You-all are evaluating this the same way we have

20      had to for the past several years.        You've heard for years

21      throughout the course of this litigation, it's been brought up

22      through trial, that we've had to fight for this information

23      during the course of discovery.       Pre-accident medical records,

24      I had to fly to South Dakota to get them.         They weren't

25      provided to me.     Employment records for these claims that all

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 31
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 32 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      of this -- these employment issues changed after the accident,

 2      that new people had to be hired, I said, please give the

 3      records to me.     Here's an authorization.      I'll get them

 4      myself --

 5                  MS. XIDIS:    Your Honor, Counsel's testifying.         She

 6      could have put someone from Acuity on the stand to talk about

 7      what Acuity had or did not have.        What Counsel did and what

 8      she asked for, it's irrelevant.

 9                  THE COURT:    Ms. Temple.

10                  MS. TEMPLE:    This came up -- this came up during his

11      examination about the authorization.

12                  THE COURT:    It's beyond the scope of the testimony

13      that was provided.

14                  MS. TEMPLE:    Okay.

15                  THE COURT:    I'm going to just direct the jury to

16      please rely on your own recollection of the testimony from the

17      witnesses.

18                  MS. TEMPLE:    Okay.   Did you notice that plaintiff

19      seemingly didn't want you to see those medical records and

20      bills?    Before they rested their case, they introduced into

21      evidence the photographs and the insurance contract.

22      Plaintiff's case, plaintiff's burden, plaintiff's medical

23      records and bills, and they rested without giving you any of

24      them.    We had to get those in through our expert.        Why is

25      that?    Why didn't they want you to have those bills and

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 32
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 33 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      records?

 2                  Our every effort to get information through discovery

 3      is -- our every effort to get information out to you during

 4      the trial is reflective of Acuity's every effort over the past

 5      several years in the course of litigation to get information

 6      to us.     I implore you to read those records if you find them

 7      necessary.     If we hadn't given them to you, you wouldn't have

 8      the opportunity.     And you'll see how infrequently Mr. Humes

 9      treated.     You'll see the inconsistencies between the pain he's

10      reporting and the activities he was doing, like ATV riding.

11      You'll see that he was traveling all across the country while

12      not getting medical treatment.       You'll see admissions that

13      there was no loss of consciousness, like he testified here

14      today.     You'll hear that he was claiming the CPAP issue as

15      part of this litigation, and for the first time in court we

16      heard that that's no longer being claimed.

17                  And then, after that period of time, that 19 months,

18      after he'd received the settlement from the other driver,

19      after all that time went by, he goes back for treatment, and

20      it's over $100,000 in treatment.       And you've heard no medical

21      or commonsense explanation as to why that is.

22                  And now they want you -- they want Acuity to not only

23      pay all of those medical expenses after that long period of

24      time when he had stopped treating, but they also want us to

25      pay -- Mr. Humes wants Acuity to pay all the future medical

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 33
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 34 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      expenses for any back or neck treatment he has for the rest of

 2      his life, $27,000 a year, half a million dollars, Acuity has

 3      to pay it.

 4                  I want to talk about that $160,000, and I want to

 5      direct your attention to the amounts that are highlighted.

 6      $117,069 goes to Dr. Leon and Dr. Anderson.         For the first

 7      time in court -- we've -- we've provided you with a copy of

 8      the lien.     It's within the medical records.      We heard that

 9      Dr. Leon had been paid.      I don't recall Dr. Leon testifying

10      that he had received payment yet.       I don't see any evidence of

11      payment to either of them.      In any event, it's worth noting

12      that 75 percent of the medical treatment, over two-thirds of

13      the medical treatment, goes to the two experts who testified

14      in this trial that all of the treatment is related to this

15      accident, that all of the injuries were sustained in this

16      accident, and that everything he needs for the rest of his

17      life to the tune of half a million dollars, it's all because

18      of this accident.

19                  Your role -- we talked about it at the outset of

20      litigation.     I'm going to bring it up again -- you evaluate

21      the evidence.     The evidence that's submitted, the testimony of

22      the parties and the experts, and then you decide if plaintiff

23      has proved his claims.      We talked about those scales of

24      justice at the beginning; the insurance company, as a

25      defendant; and you committed to the judge that you would treat

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 34
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 35 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      the defendant, Acuity, just as you would a plaintiff.             During

 2      jury selection we told you, look, this is -- we recognize the

 3      risk here.     We're a defendant insurance company coming into a

 4      courtroom to defend ourselves.        And we expressed those

 5      concerns to you during jury selection, and you assured us that

 6      you would be fair to both sides equally.         And you're here

 7      because we believe that from you.        It's Jury Instruction

 8      Number 5, and it states:      All parties are equal before the

 9      law, and an insurance company is entitled to the same fair and

10      conscientious consideration by you as any party.

11                  Also along those same lines we talk about sympathy,

12      and it's just natural to have sympathy.        It's natural to have

13      sympathy for someone who's traveled all the way from South

14      Dakota to testify.     It's natural to have sympathy for someone

15      who claims injury.     But sympathy is not allowed in that jury

16      room.     It can't be part of your deliberation.      And that's for

17      both sides.     If you feel sympathetic for Mr. Humes for the

18      reasons I just talked about, that cannot even come into the

19      deliberation.     It plays no role.     And just the same way for

20      Acuity.     If you feel sympathy over the years and years that

21      information has been requested and not produced, you can't

22      have sympathy for them either.        It goes both ways.    No

23      sympathy can be considered as part of the deliberation

24      process.

25                  As you go back into that deliberation room, I want

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914               Page 35
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 36 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      you to think about something, and I think it will help you

 2      arrive at a verdict.     And I think it will have you -- help you

 3      arrive at the verdict that Acuity is seeking in this case.                If

 4      there wasn't an insurance policy for Mr. Humes to collect

 5      from, from which he could make a claim, would he have flown

 6      back to Las Vegas multiple times for treatment at a huge

 7      premium, four to five times what it costs in South Dakota,

 8      with no connection here aside from his attorney and his

 9      doctor?   Would he be demanding meetings with doctors and

10      lawyers and demanding certain medical procedures irrespective

11      of pain or recommendation?      And I would submit to you -- I

12      would ask that you review those records.         There were multiple

13      calls and letters, and you'll see them throughout the file,

14      throughout the records.

15                Would Mr. Humes have gone back to treatment after a

16      year and seven months after settling with the other driver and

17      told Acuity that it's because of this accident and that they

18      need to pay?    And if you believe that Mr. Humes is still in

19      pain, do you think he would be blaming all of this treatment

20      that he's having right now on this accident, or would he be

21      blaming it on his pre-accident health?        The fusion, the fact

22      that he had treatment before for the exact same issues.             His

23      wife testified to you that she had back surgery.          She wasn't

24      in an accident.    She was in this accident, but she didn't have

25      back surgery as a result of this accident.         Once you answer

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 36
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 37 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      those questions, I think you've arrived at the verdict.

 2                 And I want to talk about the amounts here, the

 3      monetary amounts.     You heard Dr. Schifini testify that there's

 4      no traumatic injury in this case.       All you have is a

 5      sprain/strain.     You would need three to four months of medical

 6      care before you reach what he called maximum medical

 7      improvement, and he kind of defined maximum medical

 8      improvement.     It's when medicine has done all it can, and then

 9      at that point he -- if you're still in pain, we've done what

10      we can, medicine has done what it can, and he called that

11      maximum medical improvement.       He calculated that to be

12      $7,646.49.     That's through the first three months of medical

13      treatment.     And that, if you follow the law, that's the

14      conclusion that you would reach, that that's the amount that's

15      related.

16                 Now, I want to talk to you about something else.           My

17      client, Acuity, has offered not to stop there.          Despite the

18      medical evidence, despite the law, they are willing to do

19      something -- and they have conveyed this as a courtesy to

20      Mr. Humes.     And myself and Mr. Rogers, we would never counsel

21      a client away from a courtesy that they want to provide to

22      their insured.     They have been willing, despite the medical

23      evidence, to consider all the way up until that 19-month gap.

24      There is no evidence that almost two years of medical

25      treatment later it's still related to the accident.          So up

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 37
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 38 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      until that 19-month period, the total medical bills were

 2      $56,003.96.    And that, of course, doesn't include the pain and

 3      suffering, which I'll talk about in a minute.         But that's the

 4      amount that Acuity said, you know what, even though our expert

 5      is relying on the evidence and the law and we believe in him

 6      and trust him, we're going to give Mr. Humes all the way up a

 7      year and -- it's -- essentially is 19 months of treatment,

 8      until that 19-month gap.

 9                So we have two verdict forms that I'm going to show

10      you.   The first is the one that would be calculated if you

11      want to rely on Dr. Schifini and the law and the evidence only

12      and not take into consideration the courtesy.         And that's

13      $7,649 -- I'm sorry, $7,646.49 and $8,000 in pain and

14      suffering.    And I'm not going to do the math because I went to

15      law school because I'm not good at math, but I'll let you-all

16      do the math and come out with a number if that's the jury

17      verdict form you want to reach.

18                I want to show you the other verdict form, and this

19      is the one that Acuity is saying we're willing to pay this

20      amount.   Irrespective of what's been received, this is how we

21      value the claim.     This amount right here is how we value the

22      claim, and that is $116,003.96.       I did the math on this one.

23      That's $56,003.96.     That's the amount up until that almost

24      two-year gap when the settlement was reached with the other

25      driver and Mr. Humes stopped treating.        $60,000 in pain and

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 38
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 39 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      suffering for a total of $116,003.96.        And I told you it was

 2      going to be a significant amount.        That's the value.

 3                  As far as future necessary medical treatment, I am

 4      sure that you, right along with me, heard that number for the

 5      first time.     I didn't hear any experts testify that the amount

 6      of future treatment would behalf a million dollars.          And I

 7      certainly don't think that I heard any evidence, particularly

 8      from Dr. Schifini, that all of the -- would be related to this

 9      accident.     This treatment that he needs all the way until he's

10      deceased essentially for the rest of his life is attributable

11      to that 2013 accident.

12                  And as far as future pain and suffering, if you don't

13      award future damages, then -- and you don't believe that he's

14      going to continue to treat in the future, you don't think he's

15      still treating for accident-related injuries, you don't award

16      anything there either.      And what I want to add, you heard

17      during the course of the trial, Mr. Humes has not received any

18      medical care for a year.        That amount that I just told you,

19      $116,003.96, Acuity is ready to willing to extend that to

20      Mr. Humes, and now we leave it to you and we entrust you to

21      decide.

22                  THE COURT:   Ms. Xidis.

23                  MS. XIDIS:   Yes.    Court's indulgence while I get the

24      PowerPoint set up.

25                    PLAINTIFF'S REBUTTAL CLOSING ARGUMENTS

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 39
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 40 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1                 MS. XIDIS:    Okay.    So I'm not going to cover

 2      everything that Ms. Temple addressed in her closing.            I really

 3      don't think there's -- there's much of a need to, but I do

 4      want to touch on some of them.

 5                 First, this is exactly why we're here.        Don has a

 6      policy of insurance with Acuity.        He was in a crash.      The

 7      person who cause that crash didn't have enough insurance.             For

 8      eight years Acuity looked at him and said you're not injured

 9      enough.    I don't believe you.      The treatment that you're

10      getting, we don't like.       You're going to Nevada.     You're going

11      to Florida.    You should stay home in San Diego [sic] where

12      it's cheap.    You shouldn't get this treatment; it doesn't help

13      you enough.    And now today, for the very first time, they tell

14      Don that they think he's entitled to something.          This is why

15      we are here.    Eight years.

16                 They accuse him of trying to withhold records, the

17      bills and records.      Did you hear anyone other than Ms. Temple

18      testify to that?     Did they put Larry Reub on the stand to tell

19      you what Acuity wanted and what they didn't get?          No.    Because

20      Don gave them everything they needed.        He gave them

21      authorizations to obtain the records.        He told them who his

22      medical providers were.       You have thousands of pages of

23      records.    Dr. Schifini testified that he reviewed all of Don's

24      medical treatment, all of Don's medical records and bills.

25      What's missing?    Nothing.      You would have heard about it from

                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914               Page 40
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 41 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      a witness on the stand under oath.        Ms. Temple's testimony,

 2      her comments, aren't evidence.

 3                  Let's talk about these treatment gaps, these months

 4      here and there.     What difference does it make really?        He's in

 5      pain for longer.     No doctor has said it's making him worse.

 6      It's a consequence of -- of Don's choice not to take the time

 7      out to go to a medical doctor.       He's in Florida in the winter.

 8      Sometimes it takes a long time to make those appointments.

 9      He's back in South Dakota.       He's -- he's a busy man.      That

10      doesn't mean that his pain's not real.        It doesn't mean he's

11      not dealing with it every single day.        It means that he's

12      facing the consequences of those decisions not to get

13      treatment at that time.       His medical bills are less as a

14      result.     His pain and suffering's higher.      Acuity should be

15      grateful.

16                  The 19-month gap, I'm really surprised that I'm

17      talking to you about this right now.        Does Acuity really think

18      that Don and Barbara and Cheryl are making up the fact that

19      his mom died during that period of time?         That Barbara had

20      open-heart surgery as well as other heart surgeries?           That

21      both he and Barbara suffered cancer?        Not a scare.     They both

22      had it.     They fought it.    Look at his right ear.      Is he making

23      that up?     I'm not going to spend any more time on that gap.

24                  Let's talk about Dr. Schifini.     She said that he's

25      the only doctor, the only medical provider you heard from who

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 41
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 42 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      had reviewed everything, and listed off medical records and

 2      depositions.     Depositions, he's the only one who would need to

 3      review the depositions because he hasn't talked to Don.             He

 4      doesn't know about Dr. Anderson's treatment.         He hasn't talked

 5      to Dr. Leon.     He still doesn't know anything about

 6      Dr. Bhalani.     He wasn't deposed in this case.      Of course he

 7      reviewed the depositions.      Dr. Leon and Dr. Anderson have Don

 8      right here.     They don't need to do that.      That doesn't mean

 9      anything.     They had the medical records and bills.

10                  And Dr. Schifini concluded that Don was at maximum

11      medical improvement, there was nothing more that could be done

12      for him.     He must not have looked at those medical records

13      very hard.     Because, let me tell you, there's a lot in there.

14      First, for example, this is a medical record reflecting 80 to

15      90 percent pain relief from injections and an ablation in his

16      cervical spine in December of 2016.        80 to 90 percent pain

17      relief.     Let me show you where in the records it also reflects

18      improvement.

19                  August 12th, 2013; August 22nd, 2013; August 27th,

20      2013; September 10th, 2013; January 8th, 2014, improvement;

21      January 9th, 2014, complete resolution of pain; May 5th, 2014,

22      improvement; June 16th, 2014, felt a little better; June 18th,

23      2014, improvement; August 25th, 2014, improvement;

24      October 6th, 2014, improvement; November 7th, 2016,

25      improvement.     The pain is relieved by the nerve block, last

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 42
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 43 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      done six months ago.     His relief is lasting longer than a

 2      month and a half.     He said that in his deposition five years

 3      later.     What's more likely?

 4                  November 7th, 2016, 60 percent relief.       30 percent

 5      from the deposition.     December 14th, 2016, relieved by a nerve

 6      block last done seven months ago.        December 14th, 2016,

 7      60 percent relief.     August 23rd, 2017, the injections helped.

 8      October 5th, 2017, they helped.        May 16th, 2018, it has helped

 9      with his lower back pain.        July 11th, 2018, they helped

10      initially for about ten days.        Then a couple of weeks ago he

11      started to feel better again.        July 23rd, 2018, they helped

12      eventually.     Just like Dr. Anderson and Dr. Leon explained, it

13      takes time for these to kick in.        You can't pick a physical

14      therapy record from six days later and put it up in front of

15      you in a vacuum and say, look, it didn't help.          But that's

16      what they did.     That's what they've been doing for eight

17      years.

18                  August 29th, 2019, they're helping.      September 18th,

19      2019, helping.     70 percent that said.     October 29th, 2019,

20      much better.     December 6th, 2019, helped, helped, helped

21      70 percent, helped eventually but more pain for weeks.

22                  The records are full of references to his

23      improvement.     He is going through these treatments, and

24      they're helping.     Do they get rid of his pain?       Absolutely

25      not.     That's why he needs them for the rest of his life.          Even

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 43
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 44 of 45

                       2:17-cv-01778-JAD-DJA - May 28, 2021


 1      Dr. Schifini said that when you have chronic pain, when you're

 2      at that six-month mark, more likely than not that's not going

 3      away.   This isn't something he can have a surgery for and fix.

 4      He wishes it was that simple.       His neck was that simple.         His

 5      low back in 2011 was six days of chiropractic therapy.              Six

 6      days.   The idea that Dr. Leon and Dr. Anderson are

 7      recommending these treatments because they -- but they aren't

 8      diagnostic, there's no support for that.         Look at the records.

 9      They are replete with improvement.        Acuity has no place, there

10      is no provision in that contract that allows them to dictate

11      what medical treatment he gets, where he gets it, how much

12      those medical providers pay.       If he goes to Texas and the

13      providers charge that much, that's reasonable and customary in

14      Texas, Acuity pays for it under the policy.         That's what they

15      promised.     If he goes to Hawaii and treatment's even more

16      expensive, if he goes to Wyoming and it's cheaper, he gets to

17      pick where he treats, who he treats with.         They don't get to

18      make those decisions for him.       That is not their place.         Show

19      me in the policy, look -- search that policy, find a place

20      where they get to do that.

21                  Don paid them for protection.     They haven't given it.

22      They get up here in this trial and they call him a liar, and

23      then after eight years they say, yeah, we should have paid you

24      something.

25                  Look at that verdict form.     Tell Acuity that how they

                           UNITED STATES DISTRICT COURT
                         Amber McClane, RPR, CRR, CCR #914             Page 44
     Case 2:17-cv-01778-JAD-DJA Document 179 Filed 07/06/21 Page 45 of 45

                      2:17-cv-01778-JAD-DJA - May 28, 2021


 1      treated Don is not okay.

 2          (Excerpt concluded at 11:00 a.m.)

 3                                     --o0o--

 4                          COURT REPORTER'S CERTIFICATE

 5

 6           I, AMBER M. McCLANE, Official Court Reporter, United

 7      States District Court, District of Nevada, Las Vegas, Nevada,

 8      do hereby certify that pursuant to 28 U.S.C. § 753 the

 9      foregoing is a true, complete, and correct transcript of the

10      proceedings had in connection with the above-entitled matter.

11

12      DATED:   7/6/2021

13

14                                    /s/_________________________________
                                         AMBER McCLANE, RPR, CRR, CCR #914
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                          UNITED STATES DISTRICT COURT
                        Amber McClane, RPR, CRR, CCR #914              Page 45
